         Case 18-04076   Doc 14   Filed 11/06/18   Entered 11/06/18 11:53:35   Desc Main Document   Page 1 of 15




                         UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

IN RE:
Payson Petroleum 3 Well 2014, L.P.                            Case No. 17-40180 btr
2652 FM 407 E, Ste. 250                                       Chapter: 7
Bartonville, TX 76226
EIN: XX-XXXXXXX
Debtor


Jason Searcy                                                                            Adversary No. 18-04076 btr
Plaintiff

vs.

Om Agrawal
Defendant

Sunil Agrawal
Defendant

Kenneth C. Aldrich
Defendant

Yvonne Craig-Aldrich
Defendant

Howard E. Agster
Defendant

Karen E. Agster
Defendant

David Paul Allnutt
Defendant

Deborah Jeanne Allnutt
Defendant

Wenzhong An
Defendant

Dana D. An
Defendant

Alfred Austin
Defendant
         Case 18-04076   Doc 14   Filed 11/06/18   Entered 11/06/18 11:53:35   Desc Main Document   Page 2 of 15




Barbara Austin
Defendant

Shrimant K. Ayaram
Defendant

Susy Ayaram
Defendant

The Peter L. Backes Trust DTD 6-17-88
Defendant

H. Gary Baird, Jr.
Defendant

Ronald E. Barfield
Defendant

Charles R. Barry
Defendant

David Bartczak
Defendant

Richard Bauder
Defendant

Heidi Beh
Defendant

Blockster Investment Ltd.
Defendant

Joseph L. Bolin
Defendant

Barry Brodbeck
Defendant

Carl R Brumley
Defendant

Warren V Bush
Defendant

Fay L Bush
Defendant

Van H. Butler
Defendant
         Case 18-04076   Doc 14   Filed 11/06/18   Entered 11/06/18 11:53:35   Desc Main Document   Page 3 of 15




Mary L. Butler
Defendant

Donald C. Calvello
Defendant

Albert S. Carse
Defendant

Audrey M. Carse
Defendant

Jocelyn S. Carter 1992 Trust
Defendant

Kenneth and Terryalin Chapman Revocable Trust
Defendant

Sue E. Chappell Living Trust DTD 8/17/10
Defendant

Brandon Chen
Defendant

Jiangnan Chen
Defendant

Mary Chen
Defendant

Meiyu Chen
Defendant

Shu Chen
Defendant

Lisa Chen
Defendant

Jan Cheng
Defendant

Edward Y. Chu
Defendant

Grace W. Chu
Defendant

Thomas Clayton
Defendant
         Case 18-04076   Doc 14   Filed 11/06/18   Entered 11/06/18 11:53:35   Desc Main Document   Page 4 of 15




Charles R. Cobb
Defendant

Jeffrey M. Cohen
Defendant

Yulduz Cohen
Defendant

W.M. Cozad Fam Trust DTD 4-28-94
Defendant

Tapan K. Daftari, Dr.
Defendant

Anisa Daftari
Defendant

John A. Diaz
Defendant

Donald A. DiFiore
Defendant

Gary G. Donner
Defendant

Kenneth E. Dougan
Defendant

Dow Living Trust
Defendant

Honey H. Duncan Revocable Trust
Defendant

The Harry L. Duty and Shari L. Duty Revocable Trust dtd 9/13/2000
Defendant

Lawrence S. Esposito
Defendant

Theodora B. Esposito
Defendant

George W. Farris, III
Defendant

The Friscia Living Trust
Defendant
         Case 18-04076   Doc 14   Filed 11/06/18   Entered 11/06/18 11:53:35   Desc Main Document   Page 5 of 15




PI Resources, LLC
Defendant

Renjie Fuller
Defendant

Rick Gardner
Defendant

Timothy Jack Gibson
Defendant

Stacey Leigh Gibson
Defendant

John Gong
Defendant

Richard A. Graham, Jr.
Defendant

Todd F. Gregory
Defendant

Melanie L. Gregory
Defendant

Grubbs Holding Trust
Defendant

Ronald Guichard
Defendant

Richard D. Hammond
Defendant

Edwin W. Hardey
Defendant

William G. Hayden
Defendant

Deborah G. Hayden
Defendant

Hayes Living Trust dtd 11/18/2004
Defendant

Jerry D. Hays
Defendant
         Case 18-04076   Doc 14   Filed 11/06/18   Entered 11/06/18 11:53:35   Desc Main Document   Page 6 of 15




Linda L. Hays
Defendant

Brenda Henderson
Defendant

Charles R. Henslee
Defendant

Sharon K. Henslee
Defendant

Sharlene Sims Horak
Defendant

Rocky Howington
Defendant

Anna Howington
Defendant

Lihong Huang
Defendant

Zhongwen Huang
Defendant

Virginia P. Humphrey, II
Defendant

2010 Don B. Huntley Revocable Trust
Defendant

Kijabe Limited Liability Company
Defendant

Felicia Y. King
Defendant

Suresh Kumar
Defendant

Malini Kumar
Defendant

Michael N. Kusheba
Defendant

Chris Lahiji
Defendant
         Case 18-04076   Doc 14   Filed 11/06/18   Entered 11/06/18 11:53:35   Desc Main Document   Page 7 of 15




Robert H. Lasha
Defendant

Marianne Lasha
Defendant

Crystal LeClercq
Defendant

Fen V. Lee Living Trust
Defendant

Inn C. Lee Living Trust
Defendant

Roland E. Lentz RLT Dtd 1/3/13
Defendant

Randy Lew
Defendant

Junyu Li
Defendant

Huifang Liang
Defendant

Derik Einer Lindholm
Defendant

Einer G. Lindholm
Defendant

Krystle Lindholm Exempt Trust dtd 3/21/2006
Defendant

Marisa Lindholm Exempt Trust dtd 6/21/2006
Defendant

Joseph Little
Defendant

Neil Agrawal
Defendant

Richard Z. Lu
Defendant

Veena Agrawal
Defendant
        Case 18-04076   Doc 14   Filed 11/06/18   Entered 11/06/18 11:53:35   Desc Main Document   Page 8 of 15




Jia Liu
Defendant

Jeffrey A. Meyer
Defendant

Michael Mitchell
Defendant

Aki Miyasaki
Defendant

John Miyasaki
Defendant

Kazu Miyasaki
Defendant

Mark J. Modlin
Defendant

Timothy H. Moore
Defendant

Pamela S. Morgan
Defendant

Ernest F. Morgan
Defendant

Michael Musaraca
Defendant

Kazuo J. Nanya
Defendant

Rosalyn S. Nanya
Defendant

Ross Chan
Defendant

Margaret Ng
Defendant

Sara Ng
Defendant

Robert R. Oberle
Defendant
         Case 18-04076   Doc 14   Filed 11/06/18   Entered 11/06/18 11:53:35   Desc Main Document   Page 9 of 15




Robert J. Orsillo
Defendant

Carole A. Orsillo
Defendant

Thomas Partridge
Defendant

Lois Partridge
Defendant

Anne F. Patterson
Defendant

Rudolph E. Perry Childrens Trust
Defendant

Jonathan A. Perkins
Defendant

Travis Petree
Defendant

Kevin Peterson
Defendant

Leland Phillips
Defendant

John F. Pollick
Defendant

Mary Jane Pompa
Defendant

Ravindra Kumkum Prakash
Defendant

Kum Kum Prakash
Defendant

The Propst Family Trust
Defendant

Margaret A. Propst
Defendant

Ying Qi
Defendant
         Case 18-04076   Doc 14   Filed 11/06/18   Entered 11/06/18 11:53:35   Desc Main Document   Page 10 of 15




Ying Qu
Defendant

Siwen Qu
Defendant

H. William Ranelle
Defendant

Jill M. Ranelle
Defendant

Allan H. & Marcia A. Rastede RL Trust dtd 2006
Defendant

Jeremy D. Rauhauser
Defendant

Richard R. Rector
Defendant

Sue C. Rector
Defendant

Virginia G. Rhodes
Defendant

Riverstone Resources, Ltd.
Defendant

Blake Rodgers
Defendant

Christopher L. Rooker
Defendant

Natalia Rynoin
Defendant

Glenn Jason Salsbury
Defendant

Joseph Schmitz
Defendant

Caroline Schmitz
Defendant

Audrey Schwarzbein
Defendant
        Case 18-04076   Doc 14   Filed 11/06/18   Entered 11/06/18 11:53:35   Desc Main Document   Page 11 of 15




Schwarzbein-Graham Family Trust
Defendant

Joseph S. Seminoro
Defendant

Arlene J. Seminoro
Defendant

Yanhua Shi
Defendant

Daniel J. Smeester
Defendant

Smith Family Legacy Trust
Defendant

Bobby J. Smith
Defendant

Mark Smith
Defendant

Toussaint Smith
Defendant

Rose Sobel Rev. Trust 9/21/95
Defendant

Taher Sobhy
Defendant

Todd Stephens
Defendant

David K. Stewart
Defendant

Philip H. Strand
Defendant

Anita L. Strand
Defendant

William Dax Symonds
Defendant

Jeremy W. Szeto
Defendant
        Case 18-04076   Doc 14   Filed 11/06/18   Entered 11/06/18 11:53:35   Desc Main Document   Page 12 of 15




Swift Revocable Qualified Spousal Trust DTD 02/20/2013
Defendant

Christopher S. Tasso
Defendant

Anne B. Cilda-Tasso
Defendant

Charles L. Terry
Defendant

Katherine G. Terry
Defendant

Joey E. Turner
Defendant

Linda Jo Turner
Defendant

Cehuan Wang
Defendant

Jiuzhou Wang
Defendant

Meimei Xu
Defendant

Robert H. Watkins
Defendant

George L. Weaver
Defendant

The Bernita O. Webster Living Trust
Defendant

Weiner Trust
Defendant

Bill Whelpley
Defendant

Joann Whelpley
Defendant

Elizabeth Williams Trust DTD 8-10-06
Defendant
        Case 18-04076   Doc 14   Filed 11/06/18   Entered 11/06/18 11:53:35   Desc Main Document   Page 13 of 15




Marlow Williams
Defendant

Rebecca Williams
Defendant

Roy Williams
Defendant

Ruthann L. Williams
Defendant

Jeffrey D. Wilshire
Defendant

Wise Family Trust
Defendant

2008 Donald R. & Debra R. Woods Revocable Trust
Defendant

Joel Woods
Defendant

Peili Wu
Defendant

Zhong Wu
Defendant

Hailin Yan
Defendant

Lei Yan
Defendant

Ximing Yang
Defendant

Michael J. Yates
Defendant

John Yijian
Defendant

Hang Yuan
Defendant

Yingzi Song
Defendant
          Case 18-04076   Doc 14   Filed 11/06/18   Entered 11/06/18 11:53:35   Desc Main Document   Page 14 of 15




He Yuan
Defendant

Ning Li
Defendant

Xiaoli Zhang
Defendant

Yang Zhao
Defendant

Hong Yang
Defendant

Liping Zhong
Defendant

Jun Zhou
Defendant

Philip Zhou
Defendant

3 Well MGP, LLC
Defendant

Payson Petroleum Grayson, LLC
Defendant


          NOTICE AND ORDER REGARDING INITIAL PRE-TRIAL PROCEDURES
           IN ADVERSARY PROCEEDING AND SCHEDULING A TELEPHONIC
                         MANAGEMENT CONFERENCE

TO: ALL ATTORNEYS OF RECORD AND ALL UNREPRESENTED PARTIES

Pursuant to Federal Rule of Bankruptcy Procedure 701(a), it is hereby ORDERED by the Court that:

       1. The parties to this adversary proceeding shall conduct the conference required under Fed R.
Bankr. P. 7026(f) no later than 14 calendar days prior to the date of the Management Conference
established by this Order in order to consider the nature and basis of their respective claims and
defenses, the possibilities for a prompt settlement or resolution of the case, to make or arrange for the
initial disclosures required under Fed. R. Bankr. P. 7026(a)(1), and to develop a proposed discovery
plan for this adversary proceeding.

     2. A party may not seek discovery from any source prior to the time that the Rule 7026(f)
conference among the parties is conducted.

     3.
          Case 18-04076   Doc 14   Filed 11/06/18   Entered 11/06/18 11:53:35   Desc Main Document   Page 15 of 15



      3. The proposed discovery plan shall be presented orally to the Court at the Management
Conference established by this Order and the parties are hereby excused from submitting a written
report regarding their proposed discovery plan.

       4. The parties shall make their initial disclosures required under Fed. R. Bankr. P. 7026(a)(1) no
later than 7 calendar days prior to the date of the Management Conference established by the Order.
Each party should file with the Court a "Notice of Initial Disclosure," without accompanying
documentation, at the time that the initial disclosures are made by that party. Any party that without
substantial justification fails to make its initial disclosures shall be subject to that sanctions set forth in
Fed. R. Bankr. P. 7037(c)(1).

      5. The Telephonic Management Conference Hearing in this adversary proceeding will be
conducted telephonically on Thursday, January 10, 2019 at 9:30 am. Parties are instructed to
appear telephonically using the following call in information:
Dial-in information: 1.888.675.2535, Access code: 4225607; and when prompted the Security
Code for this hearing is: 2019. The parties may NOT place the call on a speaker phone, and if
the party is using a mobile phone, the party must be in an appropriately quiet location.

      6. The trial attorneys who will actually present the case in Court and any unrepresented parties
are required to attend the Management Conference and be prepared to present their proposed
discovery plan to the Court and to discuss and make binding agreements concerning the following
matters:
         a. Any amendments to the pleadings, including addition of parties and to set deadlines
             therefore;
         b. Anticipated discovery and deadlines and limitations pertaining thereto;
         c. Anticipated pre-trial motions (if any) and deadlines for filing same;
         d. Necessity for further pre-trial conferences; and
         e. Any other matter bearing on preparation of the adversary processed for trial.

      7. The Court views the scheduled Management Conference and the pre-trial procedures
established by this Order and the Federal Rules of Bankruptcy Procedure as important steps in the
pre-trial process. Any failure to comply with the terms of this Order or the requirements of the
Federal Rules of Bankruptcy Procedure, or a failure to participate in good faith in the Management
Conference may result in the imposition of sanctions by the Court upon any party or any attorney for
any party pursuant to Federal Rules of Bankruptcy Procedure 7016 and 7037, or any other applicable
authority.

                                                                 Signed on 11/6/2018

                                                                                                         SR
                                                     HONORABLE BRENDA T. RHOADES,
                                                     UNITED STATES BANKRUPTCY JUDGE
